12-35795-cgm            Doc 11-3        Filed 06/06/17 Entered 06/06/17 16:53:42                 Client
                                           Affidavit Pg 1 of 1


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION
----------------------------------------------------X
In Re:

                                                                     Chapter 7
BIERCA NATALIA RAMOS                                                  Case No. 12-35795 (CGM)
a/k/a BIERCA URENA-RAMOS
a/k/a NATALIE RAMOS

                              Debtor(s)
---------------------------------------------------X

                    AFFIDAVIT IN SUPPORT OF MOTION
         TO RE-OPEN CASE, PURSUANT TO 11 U.S.C. §350 (b) and FRBP RULE 5010

         BIERCA URENA-RAMOS, being duly sworn, deposes and says:

    1. That I am the debtor in the instant case and submit this Affidavit in support of my motion to
re-open my bankruptcy case. The allegations set forth herein are based upon my actual knowledge.

    2. When my bankruptcy was filed in 2012 I was recently separated from my husband and
moving from place to place, and my life was very unsettled at said time. I was overwhelmed by my
unwanted circumstances at that time, and when disclosing my assets on my bankruptcy petition I did
not even think of the personal injury claim that arose from a “slip and fall” that had occurred over
five (5) years prior thereto. I was under the mistaken belief that an asset, for bankruptcy purposes,
had to be something tangible, i.e., that I already had in my hand. I did not realize that an inchoate
claim, such as a personal injury claim, had to be listed as well. My failure to list said asset was based
solely upon an inadvertent and innocent misunderstanding on my part, as above described. There was
no intent on my part to intentionally hide this asset from my bankruptcy estate.

   3. That your deponent requests that the Court re-open the bankruptcy case and appoint a new
Trustee so that the personal injury case can be administered.


                                                        /s/ Bierca Urena-Ramos
                                                         BIERCA URENA-RAMOS
Sworn to before me this
3rd day of June, 2017


/s/ Michael O’Leary
MICHAEL O’LEARY
Notary Public, State of New York
No. 4671514
Qualified in Orange County
My Commission Expires June 30, 2018
